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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In re:                                         )       Chapter 7
                                               )       Case No. 09-16956
         JOSEPH C. OSTRANDER, JR.,             )       Hon. Carol A. Doyle
         CHRISTINE S. OSTRANDER,               )
                                               )       Hearing Date:    October 25, 2017
                                Debtors.       )       Hearing Time:    10:00 a.m.


                                       NOTICE OF MOTION

TO:      (See Attached Service List)

         PLEASE TAKE NOTICE that on October 25, 2017 at 10:00 a.m. or as soon thereafter as
counsel may be heard, I shall appear before the Honorable Carol A. Doyle, U.S. Bankruptcy Court
Judge, in Courtroom 742, Dirksen Federal Courthouse, 219 South Dearborn Street, Chicago,
Illinois, and shall then and there present the Trustee’s Motion for Approval of Compromise, a
copy of which is attached and herewith served upon you, and shall pray for the entry of an order in
conformity with the prayer of said pleading.

         AT WHICH TIME AND PLACE you may appear if you so see fit.

                                                     Gregg Szilagyi (ARDC 6198555)
                                                     542 S. Dearborn Street
                                                     Suite 1400
                                                     Chicago, Illinois 60605
                                                     312-663-0801


                                CERTIFICATE OF SERVICE
       Gregg Szilagyi certifies that service of the above and foregoing notice and attached
pleadings was accomplished via First Class U.S. Mail on the parties on the attached service list
on October 2, 2017.



                                               /s/ Gregg Szilagyi
                  Case
Label Matrix for local    09-16956
                       noticing      Doc 40 Citizens
                                              FiledBanking
                                                      10/02/17       Entered 10/02/17 13:49:30
                                                             Corporation                 (p)GREENTREEDesc   Main
                                                                                                      SERVICING LLC
0752-1                                          Document           Page
                                            Casale Woodward & Buls, LLP  2 of 22         BANKRUPTCY DEPARTMENT
Case 09-16956                                 9223 Broadway, Suite A                        P O BOX 6154
Northern District of Illinois                 Merrillville, IN 46410-7017                   RAPID CITY SD 57709-6154
Chicago
Wed Aug 2 14:18:51 CDT 2017
National City                                 National City Mortgage                        U.S. Bankruptcy Court
PO Box 94982                                  3232 Newmark Drive                            Eastern Division
Cleveland, OH 44101-4982                      Miamisburg, Oh 45342-5433                     219 S Dearborn
                                                                                            7th Floor
                                                                                            Chicago, IL 60604-1702

Advocates Good Samaritan Hosp.                Allied Interstate                             Bank of America
3815 Highland Ave.                            3000 Corporate Exchange                       PO Box 15026
Downers Grove, IL 60515-1590                  5th FL.                                       Wilmington, DE 19850-5026
                                              Columbus, OH 43231-7689


Best Buy                                      Capital One                                   Carefree Lawn Sprinklers, Inc.
PO Box 5244                                   PO Box 30285                                  22049 S. Howell Dr.
Carol Stream, IL 60197-5244                   Salt Lake City, UT 84130-0285                 New Lenox, IL 60451-3721



Carson Pirie Scott                            Central DuPage Hospital                       Chase Visa
PO Box 15521                                  25 N. Winfield Road                           PO Box 15153
Wilmington, DE 19850-5521                     Winfield, IL 60190-1222                       Wilmington, DE 19886-5153



Chase/Circuit City                            Citizens Bank                                 Dish Network
PO Box 15298                                  PO Box 1790                                   PO Box 9033
Wilmington, DE 19850-5298                     flint, MI 48501-1790                          Littleton, CO 80160-9033



DuPage Emergency Phys. Conv. Care             EPI, PC                                       First Northern Credit Union
PO Box 366                                    Dept. 4006                                    230 W. Monroe
Hinsdale, IL 60522-0366                       PO Box 30516                                  Suite 2850
                                              Lancing, MI 48909-8016                        Chicago, IL 60606-4903


GE Money Bank                                 GE Money Bank/Old Nvy                         Good Samaritan Hospital
7360 S. Kyrene Rd.                            c/o CAC Fin Corp                              3815 Highland Ave.
Tempe, AZ 85283-8432                          2601 NW Expwy, Ste 1000E                      Downers Grove, IL 60515-1590
                                              Oklahoma City, OK 73112-7236


HSBC                                          HSBC                                          HSBC Retail Services
PO Box 17051                                  c/o James A. West, P.C.                       PO Box 5244
Baltimore MD 21297-1051                       6380 Rogerdale Rd.                            Carol Stream, IL 60197-5244
                                              Suite 130
                                              Houston, TX 77072-1624

Hand & Plastic Surgery Assoc.                 Holland Hospital                              Home Depot
5046 Paysphere Circle                         PO Box 3475                                   PO Box 689100
Chicago, IL 60674-0050                        Toledo, OH 43607-0475                         Des Moines, IA 50368-9100
Illinois CollectionCase
                    Service09-16956       Doc 40 Kohl’s
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                                                                                      Macy’s     Desc Main
PO Box 1010                                          Document
                                                 PO Box 3084     Page 3 of 22         111 Boulder Industrial Dr.
Tinley Park, IL 60477-9110                           Milwaukee, WI 53201-3084                             Bridgeton, Missouri 63044-1241



Menards                                              Midwest Diagnostic                                   National City
PO Box 15521                                         75 Remittance Dr.                                    PO Box 5570, Loc 7107
Wilmington, DE 19850-5521                            Suite 3070                                           Cleveland, OH 44101-0570
                                                     Chicago, IL 60675-3070


National City Mortgage Co.                           New Oaklawn MR & Imaging                             Old Navy
PO Box 1820                                          6240 W. 95th St.                                     PO Box 981064
Dayton, OH 45401-1820                                Oak Lawn, IL 60453-2702                              El Paso, TX 79998-1064



R. Griesemer MD                                      Radiologists of DuPage                               Sears
c/o NW Collectors Inc.                               520 E. 22nd Street                                   PO Box 6283
3601 Algonquin, Ste 232                              Lombard, IL 60148-6110                               Sioux Falls, SD 57117-6283
Rolling Meadows, IL 60008-3106


Sears                                                Sears/K-Mart                                         (p)VON MAUR INC
c/o NCO Fin. Systems                                 PO Box 379                                           6565 BRADY STREET
Dept. 72                                             Wood Dale, IL 60191-0379                             DAVENPORT IA 52806-2054
Wilmington, DE 19850


Christine S. Ostrander                               Dean C Harvalis                                      Gregg Szilagyi
526 Senon Drive                                      Office of the United States Trustee                  542 South Dearborn Street
Lemont, IL 60439-4092                                219 South Dearborn Street                            Suite 1400
                                                     Room 873                                             Chicago, IL 60605-1564
                                                     Chicago, IL 60604-2027

Joseph C. Ostrander Jr.                              Patrick S Layng                                      Phillip A Olson
526 Senon Drive                                      Office of the U.S. Trustee, Region 11                Charles P. Pavesich & Associates Ltd
Lemont, IL 60439-4092                                219 S Dearborn St                                    1011 East Roosevelt Road
                                                     Room 873                                             Lombard, IL 60148-4166
                                                     Chicago, IL 60604-2027



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Green Tree Servicing LLC                             Von Maur
PO BOX 6154                                          6565 Brady St.
Rapid City, SD 57709-6154                            Davenport, IA 52806




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.
                  CaseUnion
(u)First Northern Credit 09-16956   Doc 40 (u)Ostrander
                                             Filed 10/02/17
                                                        Matrix  Entered 10/02/17 13:49:30
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                                                                                                 MatrixMain
                                               Document        Page 4 of 22         Mailable recipients 50
                                                                                      Bypassed recipients    2
                                                                                      Total                 52
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

In re:                                          )       Chapter 7
                                                )       Case No. 09-16956
         JOSEPH C. OSTRANDER, JR.,              )       Hon. Carol A. Doyle
         CHRISTINE S. OSTRANDER,                )
                                                )       Hearing Date:    October 25, 2017
                                Debtors.        )       Hearing Time:    10:00 a.m.


               TRUSTEE’S MOTION FOR APPROVAL OF COMPROMISE



         Pursuant to 11 U.S.C. §§ 105, 328, 330 and 363 and Rules 2002, 6004, and 9019 of the

Federal Rules of Bankruptcy Procedure, Gregg Szilagyi, not individually, but as chapter 7 trustee

(the “Trustee”) for Joseph C. Ostrander, Jr. and Christine S. Ostrander (the “Debtors”), requests

the entry of an order granting the Trustee authority to enter into a compromise with the

Defendant Ethicon in connection with a personal injury claim of Debtor Linda Jordan (the

“Motion”). In support of the Motion, the Trustee respectfully states as follows:

                                    I.     JURISDICTION

         1.     This Court has jurisdiction over this motion pursuant to 28 U.S.C. §§ 157 and

 1334(b). This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(A), and venue is proper

 pursuant to 28 U.S.C. §§ 1408 and 1409.        This motion is a core proceeding pursuant to

 28 U.S.C. §§ 157(b)(2)(A), (B), (C), (K), (M), (N), and (O).

         2.     The predicates for the relief requested herein are 11 U.S.C. §§ 105 and 502 and

 Federal Rules of Bankruptcy Procedure 2002, 9006 and 9019.

                                    II.    BACKGROUND

         3.     On May 9, 2009 (the “Petition Date”), the Debtors filed a petition for voluntary

 relief under chapter 7 of the Bankruptcy Code and an order for relief was entered by this Court.
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       4.      On the Petition Date, the Trustee was appointed as the interim chapter 7 trustee

for the Debtors’ estate (the “Estate”).

       5.      Prior to the Petition Date, Debtor Joseph C. Ostrander, Jr. experienced a claim

of sexual abuse by a cleric of The Catholic Bishop of Chicago, a corporation sole (The

“Archdiocese”.) The claim is property of the Estate pursuant to section 541 (a) of the

Bankruptcy Code.

       6.      The Debtors did NOT disclose the existence of the claim on their schedules or

otherwise and the Trustee entered a no asset report and the case was closed on June 23, 2009.

Thereafter, the Debtors’ personal injury counsel contacted the Trustee and notified him of the

existence of the claim. On May 4, 2017 this Court entered an Order reopening this case and the

United States Trustee again appointed Gregg Szilagyi as Trustee.

       7.      On August 16, this Court entered an order authorizing the Trustee to employ Jeff

Anderson & Associates, P.A., and Kerns, Foster & Pearlman, LLC (collectively, the “Special

Counsel Firms”) to pursue the claim on behalf of the Estate on a contingency fee basis, with a

contingency fee of forty percent (40%) of any settlement or judgment, plus reimbursement of

expenses.

       8.      After negotiations with defendant Archdiocese, the Trustee has agreed to accept

a settlement in the gross amount of Six Hundred Fifty Thousand Dollars ($650,000.00). A copy

of the proposed settlement agreement with the Archdiocese is attached hereto as Exhibit A.

                         III.    BASIS FOR REQUESTED RELIEF

       9.      Section 105 of the Bankruptcy Code provides that the Court “may issue any

order, process, or judgment that is necessary or appropriate to carry out the provisions of this

title.” 11 U.S.C. § 105. Federal Rule of Bankruptcy Procedure 9019(a) authorizes the Court,



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after a hearing on such notice as the Court directs, to approve a compromise or a settlement.

Fed. R. Civ. P. 9019(a).

       10.     Compromises are tools for expediting the administration of the case and reducing

administrative costs and are favored in bankruptcy. See Fogel v. Zell, 221 F.3d 955, 960

(7th Cir. 2000). “The benchmark for determining the propriety of a bankruptcy settlement is

whether the settlement is in the best interests of the estate.” In re Energy Coop, Inc., 886 F.2d

921, 927 (7th Cir. 1989). Central to the bankruptcy judge’s determination is a comparison of

the settlement’s terms with the litigation’s probable costs and probable benefits. Among the

factors that the Court should consider in its analysis are the litigation’s probability of success,

the litigation’s complexity and the litigation’s attendant expense, inconvenience and delay

(including the possibility that disapproving the settlement will cause wasting of assets). Id.

(quoting In re Am. Reserve Corp., 841 F.2d 159, 161 (7th Cir. 1989).

       11.     Furthermore, this Court has broad discretion under Federal Rule of Bankruptcy

Procedure 9019(a) to approve a settlement provided that it is in the best interests of the Debtor’s

estate. See In re Am. Reserve Corp., 841 F.2d 159, 161 (7th Cir. 1987). The Court need not,

however, “conclusively determine claims subject to compromise, nor find that the settlement

constitutes the best result obtainable.” In re Apex Oil Co., 92 B.R. 847, 867 (Bankr. E.D. Mo.

1988) (citing In re W.T. Grant Co., 699 F.2d 599, 744 (2d Cir.) cert. denied, 464 U.S. 822

(1983)). Similarly, “a precise determination of likely outcomes is not required, since ‘an exact

judicial determination of the values in issue would defeat the purpose of compromising the

claim.’” In re Telesphere Communications, 179 B.R. 544, 553 (Bankr. N.D. Ill. 1994) (quoting

In re Energy Coop., Inc., 886 F.2d 921, 929 (7th Cir. 1989). All that is required is for the court




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to “canvass the issues to determine the settlement does not fall ‘below the lowest point in the

range of reasonableness.’” Apex Oil, 92 B.R. at 867.

       12.     The Trustee submits that the proposed settlement constitutes a good opportunity

under existing circumstances to resolve the claim without the necessity of litigation. Given the

cost and delay of litigation and the uncertainty of outcome, the Trustee submits that the

proposed settlement is well within the range of reasonable outcomes for the Estate.

       13.     The gross settlement amount is subject to certain fees and expenses of litigation

including (a) attorneys’ fees to the Special Counsel Firms in the amount of forty percent (40%)

or $260,000.00, and (b)expenses of the Special Counsel Firms totaling $526.71. The Trustee

seeks authority to pay these fees and expenses upon receipt of the settlement proceeds.




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                                        IV.     NOTICE

       14.     The Trustee served the Motion on 21 days’ notice on the United States Trustee,

the Debtors, their counsel and all creditors.

       15.     WHEREFORE, the Trustee requests that this Court enter an order substantially

in the form attached hereto: (1) approving the proposed settlement and settlement agreement

with the Archdiocese in the amount of $650,000.00 and (2) authorizing the Trustee to pay fees

and expenses to the Special Counsel Firms of (a) attorneys’ fees to the Special Counsel Firms in

the amount of forty percent (40%) or $260,000.00; and (b) expenses of the Special Counsel

Firms totaling $526.71, upon receipt of the settlement proceeds, and for such other and further

relief as may be appropriate under the circumstances.

                                                        Respectfully submitted,


Dated: October 2, 2017                                  /s/ Gregg Szilagyi, Trustee
                                                        By: One of his Attorneys
Gregg Szilagyi (ARDC 6198555)
542 S. Dearborn Street
Suite 1400
Chicago, Illinois 60605
312-663-0801




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                         EXHIBIT A
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